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From:            Jones, Michael (USASPC)
To:              Peter Moyers
Cc:              Gordon, Michael (USADC)
Subject:         Brian Mock Discovery
Date:            Tuesday, March 7, 2023 6:01:00 PM


Hi Peter,

You have requested the discovery for Mr. Mock that was previously provided to prior counsel and to
Mr. Mock himself while he was pro se. Now that we are moving toward trial, we have uploaded
discovery to USAfx and shared the folder with you. Although the vast majority of this discovery has
already been produced, the government wanted to provide this to you out of an abundance of
caution and to ensure you are working with all of the relevant evidence. The relevant folder is
named “2023.03.07 Production” and is quite large, so it may take some time to download.

I want to draw your attention to one particular set of evidence that is new. As you are aware, the
government continues to investigate until and through trial itself. We have collected videos from
open sources (YouTube, other repositories) and are providing them now. In USAfx, they can be
found in the NOT SENSITIVE subfolder as a zip file. When reviewing these videos, start with the pdf
named 11 – START HERE. It will direct you to the relevant timestamps in the videos. Most of the
videos are available online, so you can also just follow the links in the pdf if you prefer.

Please let us know if you have any difficulties downloading or accessing the discovery. USAfx is not a
permanent repository – these files will be deleted after 60 days. Please make sure you download
the files soon.

Best,
Mike




Michael L. Jones
Trial Attorney, U.S. Department of Justice
Tax Division, Southern Criminal Enforcement Section
Detailed to the U.S. Attorney’s Office for the District of Columbia
Cell: (202) 468-0069
Office: (202) 252-7820
